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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                   §
on behalf of themselves and all others           §
similarly situated,                              §
                                                 §
                       Plaintiffs,               §
                                                 §
VS.                                              §            CIVIL ACTION NO. H-16-1414
                                                 §
HARRIS COUNTY, TEXAS, et al.,                    §
                                                 §
                       Defendants.               §

                                             ORDER

       The fairness hearing set for September 19, 2019 is reset to October 2, 2019 at 9:00 a.m.

The parties have until August 30, 2019 to respond to the amicus briefs. If the court grants the joint

motion for preliminary approval, (Docket Entry No. 617), notice of the final fairness hearing must

be sent to the class by September 6, 2019; objections must be filed with the court by September

25, 2019; and the parties must move for final approval by September 30, 2019.

       SIGNED on August 24, 2019.



                                              _______________________________________
                                                           Lee H. Rosenthal
                                                    Chief United States District Judge
